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                  IN THE UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF PENNSYLVANIA


AFG MEDIA LTD,

                  Plaintiff,              Civil Action No. 2:23-cv-1840

     v.                                   Hon. William S. Stickman IV

POPTREND-OFFICIAL, ET AL.,

                  Defendants.


                        OPPOSITION TO PLAINTIFF’S
                  MOTION FOR PRELIMINARY INJUNCTION
                 AND REQUEST TO IMMEDIATELY DISSOLVE
                   (1) TEMPORARY RESTRAINING ORDER
                    AND (2) ORDER RESTRAINING ASSETS
                       AND MERCHANT STOREFRONTS
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 OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION AND
REQUEST TO IMMEDIATELY DISSOLVE (1) TEMPORARY RESTRAINING ORDER
   AND (2) ORDER RESTRAINING ASSETS AND MERCHANT STOREFRONTS

       Selected Defendants Poptrend-Official (Defendant No. 1 on Schedule A to Complaint

(“Schedule A”)); Decalare (Schedule A, Defendant No. 5); Easy-Fit (Schedule A, Defendant No.

6); Hacosoon Flagship Store (Schedule A, Defendant No. 8); Hacosoon Shop (Schedule A,

Defendant No. 9); Stegosaurus (Schedule A, Defendant No. 17); and YEAHBEER store

(Schedule A, Defendant No. 21) (collectively, “Selected Defendants”1), by and through their

undersigned counsel, file the following Opposition to the Motion for Preliminary Injunction filed

by Plaintiff AFG Media, Ltd. (“Motion”).

                                           INTRODUCTION

        This case is one of a growing number of cases filed in recent years, each of which follows

a consistent pattern.2 A plaintiff purporting to own certain intellectual property sues large groups

of foreign defendants for infringement. The plaintiff institutes the case ex parte, seeking first a

restraint on defendants’ internet stores, a freezing of defendants’ accounts and then a preliminary

injunction. Anticipating that the majority of defendants—foreign businesses—may not realize

immediately that they have been sued, or are unfamiliar with the American legal system—the


1
  Selected Defendants herein appear solely to defend against Plaintiff’s request for a preliminary
injunction and this Opposition is filed without waiver of Selected Defendants’ position that they are not
subject to the personal jurisdiction of this Court. By their appearance herein, Selected Defendants do not
concede that this Court has jurisdiction over them and do not waive any defense provided by Rule
12(b)(1), 12(b)(6), or on any other basis.
2
  See “The counterfeit lawsuits that scoop up hundreds of Chinese Amazon sellers at once,” Zeyi Yang,
MIT Technology Review (June 20, 2023) (“US law firms…have been putting together mass intellectual-
property cases …, suing hundreds of sellers on Amazon or other platforms at the same time for selling
counterfeit goods.…. One thing they have in common is that multiple defendants are sued at once, and the
defendants’ identities are kept hidden…. [According to one lawyer representing defendants in such suits,]
‘It started as a normal way to defend intellectual-property rights,’…. But over the years, [the attorney] has
witnessed the IP violation claims getting increasingly baseless. ‘It doesn’t matter if [the claims] have any
merits—you can just sue [the sellers], freeze their accounts, and force them to negotiate with you to take
their money back.’”).
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plaintiff moves for default judgment, hoping that most of these foreign defendants will simply

settle or take the default.

        The Selected Defendants are among the latest such entities to be swept up in such a case.

Importantly, however, the Selected Defendants are not counterfeiters as alleged by AFG, but are

well-established Amazon storefronts that have independently developed the products implicated

by Plaintiff’s claim. The Selected Defendants have built solid reputations and are highly ranked

Amazon sellers (indeed, they are each ranked significantly higher than Plaintiff) in their years as

Amazon retailers (ranging from four to ten years). (See Declaration of Liu Ping (“Liu Decl.”) at ¶

3; see also Declaration of Wang Weiwei (“Wang Decl.”) at ¶ 3; Declaration of Zhou Qinbin

(“Zhou Decl.”) at ¶ 3; Declaration of Zeng Fengyong (“Zeng Decl.”) at ¶ 3; Declaration of

Zhang Hongzhu ("Zhang Decl.”) at ¶ 3; Declaration of Zhong Lei ("Zhong Decl.”) at ¶¶ 3;

Declaration of Jin Benfang (“Jin Decl.”) at ¶ 3.)

        For the following reasons (among others), Plaintiff is not entitled to the injunctive relief it

seeks

   First, the Selected Defendants—companies located in China with publicly available physical
    addresses—have not been adequately served with process under the Hague Convention, and
    accordingly, this Court lacks the personal jurisdiction over Selected Defendants required to
    issue a preliminary injunction.
   Second, Plaintiff has not established a likelihood of success on the merits, as Plaintiff’s
    design is not subject to copyright protection for two reasons: (i) it is a useful article with no
    separable copyrightable features, and (ii) the Selected Defendants did not, in fact, copy
    Plaintiff’s design.
   Third, Plaintiff cannot establish the irreparable harm required to secure injunctive relief, most
    notably because the Selected Defendants have been selling the product at issue since March
    15, 2019. (Exhibits 2, 3 hereto.) Having taken no action for at least five years, Plaintiff’s
    belated claims of imminent and irreparable harm ring hollow (to say nothing of the fact that
    no significant sales of the costumes at issue are likely until the 2024 Halloween season).
    Moreover, Plaintiff’s concerns with the loss of goodwill or reputation are unsubstantiated, as
    the Selected Defendants’ allegedly infringing products bear higher customer ratings than
    those of Plaintiff’s products, and the Selected Defendants themselves are more highly ranked
    sellers than Plaintiff. (E.g., Exhibit 1 hereto.)


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    Fourth, even if Plaintiff were able to establish that injunctive relief were warranted as against
     Selected Defendants, the relief it demands goes far beyond the allegedly unlawful conduct to
     preclude the Selected Defendants from lawfully selling hundreds of products wholly
     unrelated to this litigation, including massage guns and home decor.
        In effect, Plaintiff is seeking to—and by virtue of the temporary restraining order (TRO)

currently in place, is in fact—eject the Selected Defendants from the marketplace at large.

Indeed, the account freezes implemented following the Court’s entry of the TRO are already

threatening the survival of each of the Selected Defendants’ businesses. On this point, the

Selected Defendants respectfully request that the Court vacate the TRO immediately, to be

effective upon the denial of Plaintiff’s Motion. At a minimum, should any injunction issue,

Selected Defendants submit that the $5,000 bond imposed by the Court in connection with the

TRO is woefully insufficient to address the likely harm to Selected Defendants, and request that

the Court reconsider the bond amount that Plaintiff is required to post.

        As a non-resident of the Commonwealth of Pennsylvania, this Court’s temporary

restraining order and asset restraint has unreasonably and inequitably halted Selected

Defendants’ access to their Amazon accounts, and has caused, and is continuing to cause them

irreparable harm. For the reasons set forth below, Selected Defendants respectfully request that

the Court vacate the temporary restraining order and deny Plaintiff’s request for a preliminary

injunction as against Selected Defendants.

I.      FACTUAL AND PROCEDURAL BACKGROUND

        A.      Relevant Facts

        Plaintiff possesses Copyright Registration No. VA 2-261-150, with an effective date of

registration of September 16, 2020. (Ex. 3B to Complaint.) The title of Plaintiff’s work is

“Carried by Alien ‘Pick me Up’ Inflatable Costume” (“Plaintiff’s Design”).




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       The Selected Defendants are independently owned Chinese entities that operate seven

Amazon.com storefronts. Each storefront is located in China, with addresses available on the

Amazon storefront interface, as follows:

   Poptrend-Official: Room 1002, 10th Floor, Zhongxing Building, Xingxing Community,
    Xinqiao Street, Baoan District, Shenzhen, Guangdong 518105 China (available at
    https://www.amazon.com/sp?ie=UTF8&seller=A33BMWTKYKIOJL&asin=B09SCVB94X
    &ref_=dp_merchant_link&isAmazonFulfilled=1)

   Decalare: 1025(E), No. 5 Golf Avenue, Guangpei Community, Guanlan Street, Longhua
    District, Shenzhen, Guangdong 518000 China (available at
    https://www.amazon.com/sp?ie=UTF8&seller=A14XN8BPYZV8OO&asin=B0893FJFJR&r
    ef_=dp_merchant_link&isAmazonFulfilled=1)

   Easy-Fit: 5603A, 56th Floor, SEG Plaza, Huaqiang North Road, Huaqiang North Street,
    Futian District, Shenzhen 518000 China (available at
    https://www.amazon.com/sp?ie=UTF8&seller=A3FYKOHW6MEN36&isAmazonFulfilled=
    1&asin=B083L8RNJR&ref_=olp_merch_name_4)

   Hacosoon Flagship Store: 1st Floor, 13 Cao Lang Street, Zhenxingwei, Tangxia Town,
    Dongguan, Guangdong 523720 China (available at
    https://www.amazon.com/sp?ie=UTF8&seller=A2E7OGP441SC0M&asin=B07T4VV9SC&
    ref_=dp_merchant_link&isAmazonFulfilled=1)

   Hacosoon Shop: Room 301, No. 3, Qingfeng 1st Road, 2nd Lane, Baiyun district,
    Guangzhou, Guangdong 510430 China (available at
    https://www.amazon.com/sp?ie=UTF8&seller=A27GOAX4KXJA22&asin=B0CBLXSPWQ
    &ref_=dp_merchant_link&isAmazonFulfilled=1)

   Stegosaurus: 501, Unit 8, Building 2, Xingxing Commercial Street, Shangde Road,
    Xingxing Community, Xinqiao Street, Baoan District, Shenzhen, Guangdong 518125 China
    (available at https://www.amazon.com/sp?ie=UTF8&seller=A6KRJRJHT6G0R&asin=
    B0C2Z5CRCN&ref_=dp_merchant_link&isAmazonFulfilled=1)

   YEAHBEER store: No. 9, Shangliutun, Zhongzhou Village, Zhangmu Town, Qintang
    District, Guigang, Yulin City, Guangxi, 53700 China (available at
    https://www.amazon.com/sp?ie=UTF8&seller=A2YOU85DCOCIGS&asin=B0CK7YC57X
    &ref_=dp_merchant_link&isAmazonFulfilled=1)
(See Exhibits 4-10 hereto.)

       Apart from the allegedly infringing costume at issue, each storefront sells a number of

other products, including, for example, massage guns and inflatable home decorations, none of



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which are implicated by this litigation. (See Liu Decl. ¶¶ 2, 21; Wang Decl. ¶¶ 2, 20; Zhou Decl.

¶¶ 2, 21; Zeng Decl. ¶¶ 2, 20; Zhang Decl. ¶¶ 2, 27; Zhong Decl. ¶¶ 2, 21; Jin Decl. ¶¶ 2, 6.) In

total, the seven storefronts sell    discrete ASINs.3 Each storefront sells only one or two (a

child and adult version of the allegedly infringing costume) items that are implicated by

Plaintiff’s claims in this litigation. (See Liu Decl. ¶ 4, 10; Wang Decl. ¶¶ 3, 9; Zhou Decl. ¶ 4;

Zeng Decl. ¶ 4; Zhang Decl. ¶ 4; Zhong Decl. ¶ 4; Jin Decl. ¶ 4.) However, the sum total of

Selected Defendants’ funds earned by its Amazon sales (upwards of $                  ) has been

frozen and is inaccessible to the Selected Defendants. These restraints are threatening the

survival of the Selected Defendants’ businesses and their ability to pay employees, vendors, and

suppliers. (See Liu Decl. ¶¶ 17-23; Wang Decl. ¶¶ 20-23; Zhou Decl. ¶¶ 17-21; Zeng Decl.

¶¶ 19-22; Zhang Decl. ¶¶ 19-30; Zhong Decl. ¶¶ 19-27; Jin Decl. ¶¶ 17-21.)

        B.      Procedural History

        On October 24, 2023, Plaintiff filed its Complaint against thirty-six entities that operate

online storefronts (listed on an attached Schedule A), including on Amazon.com. (Complaint,

ECF 2.) Plaintiff alleges broadly that all defendants have infringed Plaintiff’s copyright in its

MORPH brand Alien Costume. That same date, Plaintiff filed a Motion for Temporary

Restraining Order (“TRO”), Order Restraining Assets and Merchant Storefronts, Order to Show

Cause Why a Preliminary Injunction Should Not Issue; and Order Authorizing Expedited

Discovery (ECF 4); (3) Motion for an Order Authorizing Alternative Service (“Alternative




3
 Amazon Standard Identification Number (ASIN) is a ten-digit alphanumeric code that identifies
products on Amazon. The ASINs are broken out by storefront as follows: (1) Stegosaurus: 186 ASINs;
(2) Poptrend Official: 102 ASINs; (3) YEAHBEER Store: 37 ASINs; (4) easy-fit: 36 ASINs;
(5) Decalare: 22 ASINs; (6) Hacosoon Flagship: 15 ASINs; and (7) Hacosoon Shop: 10 ASINs.


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Service Motion”) (ECF 11). Notably, Plaintiff did not attempt service of any sort prior to its

request to circumvent the Hague Convention applicable to Selected Defendants.

        That same day, this Court granted Plaintiff’s request for a TRO, thereby enjoining all

defendants, including Selected Defendants from, among other things, distributing, marketing,

advertising, offering for sale, or sale of any products allegedly using Plaintiff’s Work, and

simultaneously freezing and restraining “all funds” associated with any of the accounts of the

defendants listed on the Schedule A submitted with the Complaint. (ECF 20.) The Court also

ordered defendants to show cause why a preliminary injunction pursuant to Fed. R. Civ. P. 65(a)

should not issue. (Id. p. 11.4)

        That same day, the Court also granted Plaintiff’s Alternative Service Motion. (ECF 21.)

The Order granting Plaintiff’s request to serve by alternative means was broader than the relief

requested by Plaintiff, allowing Plaintiff to serve via email or website publication (rather than

email and website publication). The Selected Defendants did not receive constructive or actual

notice of this litigation from either method of service. (Liu Decl. ¶ 7; Wang Decl. ¶ 6; Zhou

Decl. ¶ 7; Zeng Decl. ¶ 7; Zhang Decl. ¶ 7; Zhong Decl. ¶ 7; Jin Decl. ¶ 7.) Instead, Selected

Defendants learned of this litigation by notification of their accounts being frozen from

Amazon.com, on which Selected Defendants list all of their products (including dozens of

products that are not implicated by this litigation). (See Exhibits 18-31 hereto.)

        A hearing on Plaintiff’s Motion is currently set for December 7, 2023. (ECF 30.)


4
  In addition, Plaintiff’s Motion for Expedited Discovery was granted. However, for the same reasons
articulated herein regarding insufficient service of process, the Selected Defendants believe that they have
not been properly served with Plaintiff’s discovery requests. The Selected Defendants also submit that
Plaintiff has not established good cause for the requested discovery, that the discovery requested is far
broader and more invasive than is warranted at this time, and that the response time of 14 days is not
reasonable. See, e.g., Leone v. Towanda Borough, No. CIV.A. 3:12-0429, 2012 WL 1123958, at *2 (M.D.
Pa. Apr. 4, 2012) (the party seeking expedited discovery must show “good” cause for its motion, such that
the request is “reasonable” in light of the circumstances).


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                                               ARGUMENT

II.     THIS COURT LACKS JURISDICTION OVER THE SELECTED DEFENDANTS
        BECAUSE THE SELECTED DEFENDANTS HAVE NOT BEEN PROPERLY
        SERVED.

        A.       Formal Service of Process Is Required for the Issuance of an Enforceable
                 Preliminary Injunction.

        In the majority of courts considering the question, proper service of process is a

prerequisite to the issuance of an enforceable preliminary injunction. This is because a court may

not issue an injunction until it has personal jurisdiction over a defendant, which, in turn, requires

valid service of process. See 3M Co. v. Christian Investments LLC, 2011 WL 3678144, *3-4

(E.D. Va. Aug. 19, 2011) (citing R.M.S. Titanic, Inc. v. Haver, 171 F.3d 943 (4th Cir. 1999)

(district court’s preliminary injunction against company was unenforceable because the district

court did not obtain personal jurisdiction over the company through valid service of process)).5



5
  See also Schuh v. Michigan Dep’t of Corrections, No. 1:09cv982, 2010 WL 3648876, at *2 (W.D. Mich.
July 26, 2010) (“When a preliminary injunction is sought under Rule 65(a), service of the summons and
the complaint is required. It is well settled that without service of process, a court has no jurisdiction over
defendants named in a lawsuit.”) (citations omitted); Mapping Your Future, Inc. v. Mapping Your Future
Servs., Ltd., 266 F.R.D. 305, 309 (D.S.D. 2009) (holding that motion for preliminary injunction against
foreign defendant was premature and could be re-filed after defendant had been served with the summons
and complaint); Sangui Biotech Intern., Inc. v. Kappes, 179 F. Supp. 2d 1240, 1241 (D. Colo. 2002)
(holding that district court did not have jurisdiction to enter preliminary injunction against foreign
defendant because he had not yet been served with process under the provisions of the Hague
Convention); Carty v. R.I. Dept. of Corrections, 198 F.R.D. 18, 20 (D.R.I. 2000) (“When an injunction is
sought, service of the summons and the complaint is required. It is well settled that without service of
process, this Court has no jurisdiction over the named defendants. Personal jurisdiction is established
either by proper service of process, or by the defendant’s waiver of any defect in the service of process.”)
(citations omitted); Universal Licensing Corp. v. Paola del Lungo, S.p.A., 293 F.3d 579, 582 (2d Cir.
2002) (“The court invited Universal to return to court six days later, after service of process had been
properly effected on PDL, at which time the court would entertain a motion for a preliminary
injunction.”); Burns v. First. Am. Trustee Servicing Solutions, LLC, No. 11–0023, 2011 WL 175503, at *2
(N.D. Cal. Jan. 19, 2011) (“If Plaintiffs seek a preliminary injunction, they must serve the summons and
complaint on any Defendant against whom relief is sought.”); Lakner v. Balke, No. 08–cv–1791, 2008
WL 4473916, at *2 n.1 (S.D. Cal. Oct. 2, 2008) (“If Plaintiff wants to pursue a motion for a preliminary
injunction, he must first serve Defendants with the summons, Complaint and preliminary injunction
motion.”); North Face Apparel Corp. v. TC Fashions, Inc., 2006 WL 838993, at *7 (S.D.N.Y. Mar. 30,
2006) (“The Court will grant Plaintiffs’ application to convert the TRO into a preliminary injunction
against SDT USA at such time as Plaintiffs submit proof of service of process upon SDT USA.”); Mark v.


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Because the Selected Defendants have not been properly served with process pursuant to the

Hague Convention, the Court lacks personal jurisdiction over the Selected Defendants and no

enforceable preliminary injunction can issue.

        B.      The Selected Defendants Have Not Been Served with Adequate Process.

        Every defendant must be served with a copy of the complaint and summons in

accordance with Fed. R. Civ. P. 4. Because the Selected Defendants are Chinese entities with no

physical presence in the United States, Fed. R. Civ. P. 4(f) authorizes two methods of service.

First, service may be made “by any internationally agreed means of service that is reasonably

calculated to give notice, such as those authorized by the Hague Convention.” Fed. R. Civ. P.

4(f)(1). Second, Rule 4(f)(3) authorizes service “by other means not prohibited by international

agreement, as the court orders.”

        As Plaintiff acknowledges, the United States and China are parties to the Hague

Convention, which has the force of federal law and limits available methods of service under

Fed. R. Civ. P. 4(f)(3). The Convention is intended to simplify and standardize serving process

abroad, and prescribes “certain approved methods of service and ‘preempts inconsistent methods

of service’ wherever it applies.” Water Splash, Inc. v. Menon, 137 S. Ct. 1504, 1507 (2017)

(quoting Volkswagenwerk Aktiengesellschaft v. Schlunk, 487 U.S. 694, 698 (1988) (noting that

“compliance with the Convention is mandatory in all cases to which it applies.”)).

        Here, Plaintiff’s service of process by email – even if effected as Plaintiff claims6 - and

website posting is inadequate because (i) the Hague Convention applies to this case; and



Shui–Kuen, 1986 WL 11567, at *1 (S.D.N.Y. Oct. 8, 1986) (“Plaintiffs may move for a preliminary
injunction after the summons and complaint have been served and defendants have served and filed their
answers.”).
6
  Selected Defendants did not receive notice of this litigation via email or Plaintiff’s website posting;
instead, they learned of the litigation when Amazon froze their accounts. (See Exhibits 18-24 hereto.)


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(ii) Plaintiff failed to even attempt to serve Selected Defendants properly under the Hague

Convention.

               1.      The Hague Convention Applies Because Plaintiff Can Take
                       Reasonable Efforts to Find Selected Defendants’ Physical Addresses.

       Courts look to Article 1 to determine whether the Hague Convention applies. Schlunk,

486 U.S. at 699. Article 1 specifies the Hague Convention’s scope. The first sentence states the

“Convention shall apply in all cases, in civil or commercial matters, where there is occasion to

transmit a judicial or extrajudicial document for service abroad.” Id. (quoting Article 1 of The

Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or

Commercial Matters, Nov. 15, 1965, 20 U.S.T. 361). Where it applies, compliance with the

Hague Convention is “mandatory.” Id. at 698–99 (1988). The purpose of the Hague Convention

is “to assure that defendants sued in foreign jurisdictions would receive actual and timely notice

of suit, and to facilitate proof of service abroad.” Id. at 698. Article 1 also states the Hague

Convention does not apply “where the address of the person to be served with the document is

not known.” Art. 1, 20 U.S.T. at 362.

       Courts have interpreted the second sentence of Article 1 consistently. A plaintiff cannot

close its eyes to the obvious to avoid the Hague Convention; the plaintiff must make reasonably

diligent efforts to learn a defendant’s mailing address. See Advanced Access Content Sys.

Licensing Admin., LLC v. Shen, 2018 WL 4757939, at *4–5 (S.D.N.Y. Sept. 30, 2018); Smart

Study Co. v. Acuteye-Us, 620 F. Supp. 3d 1382, 1390 (S.D.N.Y. 2022) (“an address is not known

if the plaintiff exercised reasonable diligence in attempting to discover a physical address for

service of process and was unsuccessful in doing so”) (citations omitted); Progressive Se. Ins.

Co. v. J & P Transp., 2011 WL 2672565, at *3 (N.D. Ind. July 8, 2011) (citing Opella v. Rullan,

2011 WL 2600707, at *5 (S.D. Fla. June 29, 2011)); Compass Bank v. Katz, 287 F.R.D. 392,



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394–95 (S.D. Tex. 2012) (collecting and discussing cases). See also Hayward Indus., Inc. v.

CompuPool Prod., 2023 WL 3736216, at *6 (D.N.J. May 31, 2023) (“While Plaintiff need not

show that service through ordinary channels would be futile, it is reasonable to require Plaintiff

to attempt to comport with the Hague Convention, without prejudice to its right to renew the

within application and establish with reliable evidence that service through ordinary means

would be difficult or futile.” (citation omitted)).

        Reasonable diligence requires more than a “mere perusal of defendant’s storefront.”

Smart Study Co., 620 F. Supp. 3d at 1390. A plaintiff must make further efforts, such as

investigating likely physical addresses and determining whether they are associated with

defendants. See Kelly Toys Holdings, LLC. v. Top Dep’t Store, No. 22 Civ. 558, 2022 WL

3701216, at *6 (S.D.N.Y. Aug. 26, 2022) (dispatched investigator and local counsel to determine

whether physical addresses were associated with defendants); Zuru (Singapore) Pte., Ltd. v.

Individuals Identified on Schedule A Hereto, No. 22 Civ. 2483, 2022 WL 14872617, at *2

(S.D.N.Y. Oct. 26, 2022) (conducted “further online research, sent mail to the addresses, and

conducted in-person visits” to determine whether physical addresses provided by Amazon were

accurate).

        Here, Plaintiff did not even go so far as to examine the Selected Defendants’ storefronts.

Rather, Plaintiff looked at “information contained on Defendants’ actual e-commerce stores” and

“shipping information” and summarily concluded that all defendants’ operations “are most likely

based in and/or shipping from China or other foreign jurisdictions. (Declaration of S. Ference,

ECF 12, ¶ 13.) As noted above, any reasonable amount of diligence would have yielded the

Selected Defendants’ addresses, each of which is readily accessible via Amazon.com, which

requires that each storefront provide a valid physical address. (Exhibits 4-10 hereto.)




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       Simply put, this is not a case “where the address of the person to be served with the

document is not known.” Despite having access to this basic information, Plaintiff declined to

conduct the most basic investigation or to make any effort to confirm whether the Selected

Defendants’ publicly disclosed addresses were correct. In short, Plaintiff has failed to carry its

burden to show that the Selected Defendants’ addresses are unknown. Consequently, the Hague

Service Convention applies in this case.

               2.      Plaintiff Failed to Serve Selected Defendants Properly Under the
                       Hague Service Convention.

       The Supreme Court of the United States has stated that the drafters of the Hague Service

Convention intended to prohibit a method of service not mentioned in its text. Schlunk, 486 U.S.

at 699 (holding that the Convention “pre-empts inconsistent methods of service …[wherever] it

applies.”); Water Splash, 137 S. Ct. at 1507 (reaffirming this holding).

       The Hague Convention permits service only by the following means: via a central

authority (Articles 2-7), diplomatic and consular agents (Articles 8-9), mail or through a judicial

official of the State of destination if the destination State does not object (Article 10), methods

allowed by other applicable international agreement (Article 11), and other means as allowed by

the internal laws of the destination State (Article 19). See Water Splash, 137 S. Ct. at 1508

(reviewing permitted service methods). “The legal sufficiency of a formal delivery of documents

must be measured against some standard. The Convention does not prescribe a standard, so we

almost necessarily must refer to the internal law of the forum state.” Schlunk, 486 U.S. at 700.

       “Compliance with the Hague Service Convention is mandatory when serving a defendant

who resides in a foreign country that is a signatory to the convention.” SeaCube Containers LLC

v. Compass Containers & Shipping Services Ltda., 427 F. Supp. 3d 497, 500 (S.D.N.Y. 2019)

(citation omitted). Because China is a signatory to the Hague Convention, “that international



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agreement is the exclusive means through which service can be effectuated when serving a

[Chinese] defendant.” Id.; see also, RSM Prod. Corp. v. Fridman, 06 CIV. 11512 (DLC), 2007

WL 1515068, at *1 (S.D.N.Y. May 24, 2007) (“Service on a foreign defendant pursuant to the

Hague Convention …is mandatory when serving a defendant who resides in a foreign country

that is a signatory to the convention.”) (citing Burda Media, Inc. v. Viertel, 417 F.3d 292, 299-

300 (2d Cir. 2005)).

       The alternative service purportedly effected on the Selected Defendants was based on an

order obtained by Plaintiff’s inaccurate representations of the law and facts, including Plaintiff’s

assertion that “third party merchants on Internet marketplaces, like Defendants, have been known

to use aliases, false addresses and other incomplete identification information to shield their true

identities and there are, in fact, no physical addresses whatsoever associated with the majority of

Defendants’ User Accounts” (See Plaintiff’s Ex Parte Motion for Order Authorizing Alternative

Service, ECF 11 at p. 9.) However, the Selected Defendants’ addresses are each publicly

available, contrary to Plaintiff’s Alternative Service Motion. Plaintiff’s declaration fails to

identify any meaningful investigation as to the Selected Defendants’ addresses, or any effort to

perform service of process on the Selected Defendants pursuant to the Hague Convention.

       Moreover, China has objected to email service, and accordingly, in numerous decisions

involving similar facts, courts have consistently held that China’s Article 10(a) objection

precludes email service. Smart Study Co., 620 F. Supp. 3d 1382 (concluding that “service via

email on litigants located in China is not permitted by the Hague Convention” and that plaintiff

must serve the defendants via the Chinese central authority, the only method authorized by the

Hague Convention); see also Habas Sinai Ve Tibbi Gazlar Istihsal A.S. v. Int’l Tech. &

Knowledge Co., 2019 WL 7049504 at *4 (W.D. Pa. Dec. 23, 2019) (“[t]he argument that a




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country that has objected to service by ‘postal channels’ in Article 10 has implicitly indicated

that it would accept service by e-mail relies on a questionable reading of the Hague Service

Convention that elevates form over substance.”); Rice v. Electrolux Home Products, Inc., No.

4:15-CV-00371, 2018 WL 4964076 (M.D. Pa. Oct. 15, 2018) (denying request to serve by email

on defendants located in China, finding “no sound justification for [the court] to find that

Plaintiffs here should avoid the Hague Convention procedures”); Safavieh Intl, LLC v. Chengdu

Junsen Fengrui Tech. Co.-Tao Shen, No. 23 CIV. 3960 (CM), 2023 WL 3977505, at *4–5

(S.D.N.Y. June 13, 2023) (same); Facebook, Inc. v. 9 Xiu Network (Shenzhen) Tech. Co., 480 F.

Supp. 3d 977, 978 (N.D. Cal. 2020) (concluding that service by email was not proper); Prem

Sales, LLC v. Guangdong Chigo Heating & Ventilation Equip. Co., 494 F. Supp. 3d 404, 417

(N.D. Tex. 2020) (same); Luxottica Grp. S.p.A. v. Partnerships & Unincorporated Associations

Identified on Schedule “A”, 391 F. Supp. 3d 816, 825 (N.D. Ill. 2019) (same); Anova Applied

Elecs., Inc. v. Hong King Grp., Ltd., 334 F.R.D. 465, 472 (D. Mass. 2020) (“To permit service

by e-mail would bypass the means of service set forth in the Convention.”); CRS Recovery, Inc.

v. Laxton, No. C 06-7093 CW, 2008 WL 11383537, at *2 (N.D. Cal. Jan. 8, 2008) (“An order

allowing email service on a defendant located in China would contravene the treaty, and is not

permitted under Rule 4(f)(3).”).

       Further, as the Smart Study court noted:

       Recent guidance posted by Supreme People’s Court of China leaves little doubt that
       China’s objection to service by mail would encapsulate service by email. Article
       11 of the Minutes of the National Symposium on Foreign-related Commercial and
       Maritime Trial Work provides guidance for Chinese courts serving litigants outside
       of China. Those minutes state:

               In the event that the country where the person to be served is located is a
               member state of the Hague Service Convention and objects to the service
               by mail under the Convention, it shall be presumed that the country does




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                not allow electronic service, and the people’s court shall not adopt
                electronic service.

        July 1 Letter. That Chinese authorities opine that an objection to service by postal
        channels includes an implicit objection to service by email provides significant
        support for the view that China’s objection to service by postal channels would
        preclude service by email under the Hague Convention.

620 F. Supp. 3d at 1394–95 (emphasis added).

        Lastly, if service by email or by mere publication on the website of a plaintiff’s legal

counsel is permissible under the Hague Convention, then the Hague Convention could

effectively become obsolete. This is because (like Plaintiff here) no one would even attempt the

methods of service specified by the Hague Convention when these much simpler and cheaper

alternative methods—which do not provide the same guarantees of notice to defendants as even

state rules regarding service of process—are available. Such an interpretation of this vital

international treaty cannot be incorrect.

        For the above stated reasons, the Selected Defendants have not been served with process

in compliance with the Hague Service Convention as prescribed by the Federal Rules of Civil

Procedure.

III.    PLAINTIFF IS NOT ENTITLED TO A PRELIMINARY INJUNCTION AS TO
        SELECTED DEFENDANTS.

        Even if the Selected Defendants had been adequately served with process and this Court

had personal jurisdiction over them, Plaintiff has unequivocally failed to establish entitlement to

injunctive relief.

        A.      Legal Standard

        Injunctive relief for copyright infringement is authorized by 17 U.S.C. § 502(a), which

provides that the court may “grant temporary and final injunctions on such terms as it may deem

reasonable to prevent or restrain infringement of a copyright.”



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       A preliminary injunction is an extraordinary remedy that should be granted only if:
       (1) the plaintiff is likely to succeed on the merits;
       (2) denial will result in irreparable harm to the plaintiff;
       (3) granting the injunction will not result in irreparable harm to the defendant; and
       (4) granting the injunction is in the public interest.
Nutrasweet Company v. Vit–Mar Enterprises, 176 F.3d 151, 153 (3d Cir.1999); Grant Heilman

Photography, Inc. v. John Wiley & Sons, Inc., 864 F. Supp. 2d 316, 324–25 (E.D. Pa. 2012).

       A plaintiff’s failure to establish any of these four elements in its favor renders a

preliminary injunction inappropriate. Nutrasweet Co., 176 F.3d at 153; see also Mallet and

Company Inc. v. Lacayo, 16 F.4th 364 (3d Cir. 2021) (citation omitted). Because the grant of

injunctive relief is an extraordinary remedy, it “should be granted only in limited circumstances.”

Instant Air Freight Co. v. C.F. Air Freight, 882 F.2d 797, 800 (3d Cir. 1989). As set forth below,

those circumstances simply do not exist here.

       B.      Plaintiff Has Not Established a Likelihood of Success on the Merits.

       To establish a likelihood of success, a plaintiff must show that “there is ‘a reasonable

chance, or probability, of winning.’” In re Revel AC, 802 F.3d 558, 568 (3d Cir. 2015). This

requires the plaintiff to “demonstrate that it can win on the merits,” which involves a showing

that its chances of establishing each of the elements of the claim are “significantly better than

negligible.” Id. To establish copyright infringement, Plaintiff must demonstrate (1) ownership of

a valid copyright; and (2) that the infringer’s unauthorized copying of constituent elements of the

work that are original. Feist Publications, Inc. v. Rural Telephone Service Co., Inc., 499 U.S.

340, 361 (1991); Grant Heilman Photography, Inc., 864 F. Supp. 2d at 325.

       For two principal reasons, Plaintiff has not demonstrated a likelihood of success on its

copyright infringement claim.




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               1.      Plaintiff’s Copyright Is Invalid

       Plaintiff’s claim fails first because Plaintiff’s Design is not eligible for copyright

protection due to utilitarian concerns. A feature incorporated into the design of a useful article is

not eligible for copyright protection unless the feature: (1) can be perceived as a two- or three-

dimensional work of art separate from the useful article, and (2) would qualify as a protectable

pictorial, graphic, or sculptural work, either on its own or fixed in some other tangible medium

of expression, if it were imagined separately from the useful article into which it is incorporated.

Lanard Toys Ltd. v. Dolgencorp LLC, 958 F.3d 1337, 1345 (Fed. Cir. 2020); see also Esquire,

Inc. v. Ringer, 591 F.2d 796, 804 (D.C. Cir. 1978) (Copyright Register’s interpretation of

regulation attempting to define boundaries between copyrightable works of art and

noncopyrightable industrial designs to bar copyright registration of overall shape or

configuration of utilitarian article no matter how aesthetically pleasing was reasonable; “if

overall shape or configuration can qualify as a ‘work of art,’ ‘the whole realm of consumer

products garments, toasters, refrigerators, furniture, bathtubs, automobiles, etc. and industrial

products designed to have aesthetic appeal subway cars, computers, photocopying machines,

typewriters, adding machines, etc. must also qualify as works of art.’”); Norris Indus., Inc. v.

Int’l Tel. & Tel. Corp., 696 F.2d 918 (11th Cir. 1983) (holding that a wire-spoked automobile

wheel cover was a “useful article” within the meaning of copyright law, and thus not eligible to

be copyrighted; “…the efficiency of a utilitarian article is irrelevant for copyright protection”).

       Here, Plaintiff’s Design is not eligible for copyright protection because it is a useful

article with no separable copyrightable features. Its intrinsic use and overall value is nothing

more than an article of clothing. In other words, the pictorial or sculptural features of Plaintiff’s




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Design7 cannot be identified separately from, and cannot exist independently of, the utilitarian

aspects of the design itself, which serves primarily as an article of clothing to cover the costume

wearer’s torso, legs, feet, and hands. The aesthetic elements of Plaintiff’s Design are not

conceptually separable from the significant measure and influence of the utilitarian concerns

addressed in the design, which are to protect the consumer from the weather elements, maintain

privacy, and provide mobility.

        Second, Plaintiff’s design lacks novelty. Even before May 2017—the date Plaintiff

claims as the date of its Design’s creation—inflatable costumes in a similar shape (hugging a

person), were already in the public domain. Plaintiff’s Design is a simple combination of images

from the following two YouTube videos, both of which predate the alleged completion time of

the asserted copyright: (1) an "Alien Halloween Inflatable by Morbid" on YouTube on

November 7, 2013 (available at https://www.youtube.com/watch?v=6TWt-PBJAVw); and (2) a

hugging-shaped grim reaper inflatable costume with blue pants on Amazon on October 3, 2016

(viewable at https://www.youtube.com/watch?v=p0mkHdHA73c). (See Liu Decl. ¶ 24; Wang

Decl. ¶ 24; Zhou Decl. ¶ 22; Zeng Decl. ¶ 23; Zhang Decl. ¶ 31; Zhong Decl. ¶ 28; Jin Decl.

¶ 22.) Accordingly, this shape should not be protected by copyright, as Plaintiff is merely

imitating other products and is not the creator of this shape.

        Likewise, Plaintiff’s Design should not be protected by copyright, because, prior to

Plaintiff’s claim that it designed the Inflatable Alien Costume in May 2017, there were many

similar alien forms that had appeared in the public eye. Green is a recognized alien color, and the



7
 It is worth noting that the head of the alien in Plaintiff’s Design is rounder than the image in the “Alien
Halloween Inflatable by Morbid” (discussed infra), a design change that appears to be dictated by
function. (Liu Decl.¶ 26; Wang Decl. ¶ 26; Zhou Decl. ¶ 26; Zeng Decl. ¶ 24; Zhang Decl. ¶ 32; Zhong
Decl. ¶ 29; Jin Decl. ¶ 23.)



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color should not be protectable by copyright. In addition, the head features of aliens are

commonly recognized as two large eyes, two small nostrils, and a small mouth. Plaintiff’s

Design overall does not have originality, and only adopts the basic form of an alien recognized

by the general public, and therefore should not be protected by copyright.8

                 2.      Even if Valid, Selected Defendants Did Not Copy Plaintiff’s
                         Copyrighted Design

        Moreover, as a factual matter, Plaintiff cannot satisfy the second element of its copyright

claim: actual copying of original features by the Selected Defendants. This is because, as of

2018, the Selected Defendants had already independently developed their alien costume design,

wholly separate and apart from Plaintiff’s Design. Specifically, the Selected Defendants’ design

took inspiration from videos first posted in 2013 (featuring an inflatable alien) and 2016

(featuring a hugging-shaped grim reaper inflatable costume) on YouTube. In fact, as of 2016,

Easy-Fit had already introduced inflatable costumes featuring foot fins. (See Liu Decl. ¶ 25;

Wang Decl. ¶ 25; Zhou Decl. ¶ 23.) The other Selected Defendants similarly developed their

own designs independently. (See Liu Decl.¶¶ 24-26; Wang Decl. ¶¶ 24-26; Zhou Decl. ¶¶ 22-24;

Zeng Decl. ¶¶ 23-24; Zhang Decl. ¶¶ 31-32; Zhong Decl. ¶¶ 28-29; Jin Decl. ¶¶ 22-23.)

Accordingly, there can be no infringement.9 Tanksley v. Daniels, 902 F.3d 165, 173 (3d Cir.

2018) (“If the defendant truly created his work independently, then no infringement has



8
  E.g., Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183, 1196 (2021) (“a definitional provision sets forth
three basic conditions for obtaining a copyright. There must be a ‘wor[k] of authorship,’ that work must
be ‘original,’ and the work must be ‘fixed in any tangible medium of expression.’”).
9
  Plaintiff’s false claim that the Selected Defendants are selling their products “at a bargain basement
price” and/or are attempting to create a “false association” with Plaintiff’s products is baseless. (Brief in
Support of Motion at 11.) As noted above, the Selected Defendants’ products actually cost more than
Plaintiff’s products. Moreover, Easy-fit conspicuously displays its brand, “TOLOCO”, on its product
page on Amazon.com, along with product rating and total reviews, which is essential information for an
ordinary Amazon consumer’s choice. Therefore, an ordinary Amazon consumer should be well aware of
the source of its products. (Liu Decl. ¶ 5.)


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occurred, irrespective of similarity.”); Digital Dream Labs, LLC. v. Living Tech. (Shenzhen) Co.,

587 F. Supp. 3d 305 (W.D. Pa. 2022) (unauthorized copying element of copyright infringement

claim itself comprises two components: (1) actual copying and (2) material appropriation of

copyrighted work).

        Because the Selected Defendants did not, in fact, copy Plaintiff’s Design, Plaintiff cannot

establish a likelihood of success on the merits and is not entitled to injunctive relief.

        C.      Plaintiff Has Not and Cannot Show any Risk of Irreparable Harm

        A plaintiff seeking preliminary injunctive relief must demonstrate that irreparable injury

is likely in the absence of an injunction. Grant Heilman Photography, Inc., 864 F. Supp. 2d at

327. Absent a showing by plaintiffs of the likelihood of irreparable injury, no preliminary

injunction may issue, even if the other three requirements are satisfied. See Nutrasweet, 176 F.3d

at 153.10

        Importantly, a plaintiff’s delay in asserting its claim demonstrates a lack of irreparable

harm that will preclude injunctive relief—regardless of whether a plaintiff is likely to succeed on

the merits. See, e.g., Majorica, S.A. v. R.H. Macy & Co., 762 F.2d 7, 8 (2nd Cir. 1985) (lack of

due diligence in pursing injunction may, standing alone, preclude the grant of injunctive relief);

Gianni Cereda Fabrics, Inc. v. Bazaar Fabrics, Inc., 335 F. Supp. 278, 280 (S.D.N.Y.1971)

(seven month delay) (“by sleeping on its rights a plaintiff demonstrates the lack of need for

speedy action and cannot complain of the delay involved pending any final relief to which it may

be entitled after a trial of all the issues ...”) (citation omitted); Celebration Intern., Inc. v. Chosun

Intern., Inc., 234 F. Supp. 2d 905 (S.D. Ind. 2002) (denying preliminary injunction to copyright



10
  Following the Supreme Court’s holding in eBay Inc. v. MercExhange, L.L.C., 547 U.S. 388, 391
(2006), there is no longer any rebuttable presumption of irreparable harm in copyright cases. TD Bank
N.A. v. Hill, 928 F.3d 259, 279-280 (3d Cir. 2019).


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infringement plaintiff, where plaintiff did not proffer good excuse for a 3 year delay in filing suit,

“it seems incongruous to now argue that the extraordinary remedy of a preliminary injunction is

necessary to prevent irreparable harm”).

       According to Plaintiff, it first published its design in 2017 and registered its copyright in

2020. However, Decalare, one of the Selected Defendants has been selling the allegedly

infringing product since March 15, 2019—before the date of Plaintiff’s registration. (Zhong

Decl. ¶ 10.) Had Plaintiff policed its rights with any diligence, Plaintiff should have known of

the alleged infringement far sooner than three years after obtaining its registration. Much like

the Plaintiff in Celebration, it is “incongruous” for Plaintiff—after sitting on its rights for three

years—to suddenly argue that the extraordinary remedy of a preliminary injunction is necessary

to prevent irreparable harm.

       Further, while Plaintiff claims that it may suffer a “loss of goodwill and loss of control of

its reputation” (Brief in Support of Motion at 34) because Selected Defendants are selling

“substandard imitations” (id. at 35) “at a bargain basement price” (id. at 11) and/or that

customers have written online reviews to complain about the quality of the Selected Defendants’

products, these unsupported assertions are easily refuted by the facts that (1) the Selected

Defendants’ products have a higher customer satisfaction rating on Amazon.com and (2) the

Selected Defendants sell their products at a higher price point than Plaintiff’s product. (See Liu

Decl. ¶¶ 12-14; Wang Decl. ¶ 14; Zhou Decl. ¶¶ 13-14; Zeng Decl. ¶¶ 9-13; Zhang Decl. ¶¶ 13-

16; Zhong Decl. ¶¶ 13-16; Jin Decl. ¶¶ 11-13.) At best, Plaintiff has alleged harm that can be

compensated by money damages, which precludes a finding of irreparable harm. See Frank’s

GMC Truck Center, Inc. v. Gen. Motors Corp., 847 F.2d 100, 102 n.3 (3d Cir. 1988). Because




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Plaintiff cannot establish the likelihood of irreparable injury, Plaintiff’s request for the

extraordinary remedy of a preliminary injunction must be denied.

        D.      The Balance of Harms Tilts Heavily Against Injunctive Relief and in Favor
                of the Selected Defendants.

        The balance of harm favors the Selected Defendants, not Plaintiff. First, the product at

issue is a Halloween costume, and sales of the product peak in October. Accordingly, lost sales,

if any, are likely to be minimal. With respect to alleged loss of goodwill and/or reputation, as

noted above, there is no such concern with respect to the Selected Defendants’ products, which

are both more popular and more highly reviewed than Plaintiff’s product. (See Liu Decl. ¶¶ 12-

14, 22; Wang Decl. ¶¶ 12, 14; Zhou Decl. ¶¶ 13-14; Zeng Decl. ¶¶ 9-13; Zhang Decl. ¶¶ 13-16;

Zhong Decl. ¶¶ 13-16; Jin Decl. ¶¶ 11-13.)

        By contrast, the injunctive relief sought (and the TRO currently in place) threatens far

greater harm to the Selected Defendants. On this point, the Selected Defendants have suffered

and are continuing to suffer irreparable harm due to the freezing of their Amazon accounts. The

survival of the Selected Defendants—companies that have been in operation for seven years,

with employees, suppliers, and facilities to maintain—are threatened if the TRO is converted to

longer lasting injunctive relief.

        By way of example, since Plaintiff froze the funds in the Easy-Fit Amazon store, Easy-

fit’s performance has plummeted. Notably, Easy-Fit sells a total of 36 ASINs/products, including

massage guns and other products. Of these, only two are implicated by this litigation (child and

adult versions of the Inflatable Alien Costume), and these products comprise merely            % of

Easy-Fit’s sales. (Liu Decl. ¶ 21.) However, the entirety of Easy-Fit’s funds have been frozen,

and Plaintiff seeks to maintain this freeze for the duration of the litigation in its Motion for

Preliminary Injunction.



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        This freeze threatens the survival of Easy-Fit as a going concern. Easy-Fit’s sales from

October 27 to November 23, 2021 were $                       By contrast, October 27 to November 23,

2023 were “$                        decrease in sales.” (Liu Decl. ¶ 17.) This loss of revenue is

becoming increasingly serious and threatens the Company’s ability to pay employees and

suppliers, as well as to pay utilities and rent for its operations. (Id. ¶¶ 18-21.11)

        Furthermore, the most important holiday shopping season in the United States is from the

end of October to the end of December, including Thanksgiving, Christmas, and New Year’s

Day.12 During the holiday shopping season, Easy-Fit’s—as well as those of every other of the

Selected Defendants—sales growth rate is often much faster greater than its sales growth rate at

other times of the year. (See Liu Decl.¶ 18; Wang Decl. ¶ 17; Zhou Decl. ¶ 15; Zeng Decl. ¶ 18;

Zhang Decl. ¶ 21; Zhong Decl. ¶¶ 18; Jin Decl. ¶ 17.) If Easy-fit and the other Selected

Defendants cannot lift the funds freeze during this holiday shopping season, they will be unable

to make sales during Black Friday, Cyber Monday, and Christmas. (Id.) Further, the Selected

Defendants will be required to pay increased storage fees to Amazon because their products

cannot be sold while the TRO and any subsequent injunction is in place. (Id.) It is highly likely

that if the funds in these storefront remain frozen, the Selected Defendants will be forced to lay

off employees to temporarily maintain operations. (Id.)

        In addition, due to the freeze on their storefronts, the Selected Defendants are unable to

conduct ordinary business operations. This will lead to a significant decline in their consumer



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  These facts apply equally to each of the other Selected Defendants. (Wang Decl. ¶¶ 20-23; Zhou Decl.
¶¶ 17-21; Zeng Decl. ¶¶ 19-22; Zhang Decl. ¶¶ 19-30; Zhong Decl. ¶¶ 19-27; Jin Decl. ¶¶ 17-21.)
12
  One of Easy-Fit’s most popular products is                                  which sees its sales peak in
November and December. Due to its popularity last year, Easy-fit stocked up on a large inventory of
                          this year, and owes its suppliers over $           The Company will incur
enormous losses if its funds remain frozen and it is unable to sell its inventory during the holiday season.
(Liu Decl. ¶¶ 21-23.)


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search visibility, which is a critical factor in obtaining “Amazon Choice: Overall Pick” or “Best

Seller,” which will, in turn, directly affect their Amazon rankings. If these rankings drop

significantly, it will have long-term, irreparable negative consequences for each storefront’s

future operations. (See, e.g., Liu Decl. ¶ 22.)

IV.    THE RELIEF SOUGHT BY THE PRELIMINARY INJUNCTION IS
       OVERBROAD AND NOT TAILORED TO THE HARM ALLEGED SUFFERED
       BY PLAINTIFF.

       Even if Plaintiff were entitled to injunctive relief (which it is not), the sweeping scope of

relief sought by Plaintiff—including, among other things, an order restraining the Selected

Defendants’ assets and Merchant Storefronts—is not justified under the circumstances.

       Federal Rule of Civil Procedure 65(d) mandates that “[e]very order granting an

injunction” set forth the reasons why an injunction is warranted, “state its terms specifically[,]”

and articulate “in reasonable detail” the conduct it enjoins. Mallet and Company Inc., 16 F.4th at

379. While “[t]he degree of particularity required” to satisfy the Rule’s specificity provisions

will “depend[ ] on the nature of the subject matter[,]” Ideal Toy Corp. v. Plawner Toy Mfg.

Corp., 685 F.2d 78, 83 (3d Cir. 1982), those provisions are not mere technicalities. Schmidt v.

Lessard, 414 U.S. 473, 476 (1974). They are designed to serve two vital functions: first, “to

prevent uncertainty and confusion on the part of those faced with injunctive orders, and [thus] to

avoid the possible founding of a contempt citation on a decree too vague to be understood”; and

second, to ensure that sufficient information is placed on the record so that “an appellate tribunal

[will] know precisely what it is reviewing.” Mallet and Company Inc., 16 F. 4th at 378 (citations

omitted). Similarly, an injunction cannot be broader than necessary to restrain the unlawful

conduct. NAACP v. Claiborne Hardware Co., 458 U.S. 886, 924 & n.67 (1982).

       Here, the injunctive relief sought by Plaintiff fails in its overbreadth and insufficient

specificity. In this case, an appropriate remedy – if any – might be to restrain the Selected


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Defendants’ sales of the purportedly infringing product. However, the breadth of Plaintiff’s

proposed preliminary injunction order is breathtakingly vast, seeking, among other things, to

preclude not only the named defendants, but “all [unidentified and unnamed] persons in active

concert or participation with any Defendants” from conducting any business whatsoever – not

merely the sale or marketing of allegedly infringing products. For example, Plaintiff’s proposed

order providing that:

       (7) upon receipt of notice of this Order, Defendants and all financial institutions,
       payment processors, banks, escrow services, money transmitters, or marketplace
       platforms, including but not limited to Amazon Services, LLC d/b/a Amazon.com,
       and Amazon Payments, Inc. d/b/a Amazon Pay (collectively “Amazon”), … and
       their related companies and affiliates, shall immediately identify and restrain all
       funds, as opposed to ongoing account activity, in or which are hereafter transmitted
       into the accounts related to the Defendants as identified on Schedule “A” hereto, as
       well as all funds in or which are transmitted into (i) any other accounts of the same
       customer(s); (ii) any other accounts which transfer funds into the same
       financial institution account(s), and/or any of the other accounts subject to this
       Order; and (iii) any other accounts tied to or used by any of the Seller IDs
       identified on Schedule “A” hereto;

       …
       (8) upon receipt of notice of this Order, Defendants and all financial institutions,
       payment processors, banks, escrow services, money transmitters, or marketplace
       platforms, including but not limited to the Third Party Service Provider(s) and the
       Financial Institution(s), shall immediately divert to a holding account for the trust
       of the Court all funds in or which are hereafter transmitted into all accounts related
       to Defendants identified in Schedule “A” hereto, and associated payment
       accounts, and any other accounts for the same customer(s) as well as any other
       accounts which transfer funds into the same financial institution account(s) as any
       other accounts subject to this Order;

       …
       (10) Upon Plaintiff’s request, any Internet marketplace who is provided with notice
       of this Order, including but not limited to the Third-Party Service Provider(s) and
       Financial Institution(s), shall immediately cease fulfillment of and sequester
       Defendants’ inventory assets corresponding to the Seller IDs identified on
       Schedule “A” hereto in its inventory, possession, custody, or control, and hold such
       goods in trust for the Court during pendency of this action;

(ECF 28-1, pp. 2-6 (emphasis added).)




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V.      THE AMOUNT OF PLAINTIFF’S BOND SHOULD BE INCREASED TO AT
        LEAST $20 MILLION TO ACCOUNT FOR THE HARM SUFFERED BY THE
        SELECTED DEFENDANTS.

        Finally, the $5,000 bond posted by Plaintiff in connection with this matter is plainly

inadequate to support the potential losses of the Selected Defendants. As noted above, the

Selected Defendants have had the entirety of their assets on Amazon frozen, in an amount

upwards of $                (See Liu Decl.¶ 6; Wang Decl. ¶ 5; Zhou Decl. ¶ 6; Zeng Decl. at ¶ 6;

Zhang Decl. ¶ 6; Zhong Decl. ¶ 6; Jin Decl. ¶ 2.14) This threatens the survival of the Selected

Defendants as going concerns, as well as the wellbeing of their employees, and the Selected

Defendants’ vendors and suppliers.

        Before a preliminary injunction can issue, the moving party must provide “security in an

amount that the court considers proper to pay the costs and damages sustained by any party

found to have been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c). Rule 65(c)’s bond

requirement balances the competing interests of the adverse parties: preliminarily enjoining a

defendant’s conduct prevents a plaintiff from incurring further irreparable harm, while the bond

ensures at least some protection for the defendant in the event its conduct was wrongfully

enjoined. Mallet, 16 F.4th at 390-391. The injunction bond serves as a deterrent to “rash

applications for interlocutory orders; the bond premium and the chance of liability on it causes

plaintiff to think carefully beforehand.” A bond in an injunction proceeding should be sufficient

to remediate any potential harm that an enjoined party may incur. See Fed. R. Civ. P. 65(c)

(“bond must be posted “in such sum as the court deems proper, for the payment of such cots and

damages as may be incurred or suffered by any party who is found to have been wrongfully



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  The amounts frozen are subject to modification due to factors like returns and exchanges of products.
The statistics set forth herein are based on combined data collected from the Selected Defendants as of
November 21, 2023.


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enjoined.”); Instant Air Freight Co., 882 F.2d at 804-805 (“the injunction bond provides a fund

to use to compensate incorrectly enjoined defendants”; notably, not deciding whether remand on

the district court’s decision not to impose a bond was necessary “since we have independently

found that the irreparable harm necessary for the grant of the injunction was lacking.”).

          As a practical matter, “the consequences of wrongfully enjoining a defendant could be

dire if a district court were to significantly underestimate the economic impact of an injunction it

issues.” Mallet, 16 F.4th at 391. While that risk is offset to a degree by the high burden placed on

the moving party to establish that an injunction is warranted, “the risk remains, especially if the

scope of the injunction is far-reaching.” Id. Thus, courts engage in a case-specific analysis that

accounts for the factual circumstances of the parties, the nature of the case and competing harms,

and the scope and potential impact of the injunction, and they should place on the record their

reasons for setting a bond amount, so as to provide a meaningful basis for appellate review. Id.

          In this case, the $5,000 bond imposed in connection with the TRO clearly will not suffice

to compensate Selected Defendants if it is ultimately shown that the Selected Defendants were

wrongfully enjoined.

          Because of the threatened losses imposed by the lack of sales available, the Selected

Defendants respectfully request that the Court require Plaintiff to post a bond in an amount of at

least $                 which represents the sum total of the sales the Selected Defendants are

projected to lose (based on a review of last year’s sales). (See Liu Decl.¶ 21; Wang Decl. ¶ 19;

Zhou Decl. ¶ 17; Zeng Decl. ¶ 17; Zhang Decl. ¶ 24; Zhong Decl. ¶ 19; Jin Decl. ¶ 16.)




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VI.    THE TEMPORARY RESTRAINING ORDER AND ORDER RESTRAINING
       ASSETS AND MERCHANT STOREFRONTS SHOULD BE VACATED AND
       PLAINTIFF’S BOND SHOULD BE FORFEITED.

       For all of the reasons set forth herein, Plaintiff is not entitled to injunctive relief. Equally,

Plaintiff is not entitled to the protection of the TRO as against the Selected Defendants herein—

most significantly, due to the lack of immediate and irreparable harm suffered by Plaintiff, as

evidenced by Plaintiff’s years of delay in filing suit. See, e.g., Lydo Enters. v. City of Las Vegas,

745 F.2d 1211, 1213 (9th Cir. 1984) (holding that a delay in seeking a injunctive relief is a factor

to be considered in weighing the propriety of relief); Dahl v. Swift Distrib., Inc., 2010 WL

1458957, at *4 (C.D. Cal. April 1, 2010) (finding that an 18-day delay in filing a TRO

application “implie[d] a lack of urgency and irreparable harm”.

       Moreover, Plaintiff is required to—but cannot—demonstrate a “likelihood of dissipation

of the claimed assets, or other inability to recover money damages, if relief is not granted”

(Johnson v. Couturier, 572 F.3d 1067, 1085 (9th Cir. 2009)) because the Selected Defendants, as

top Amazon sellers with overall rankings much higher than the Plaintiff, cannot afford to flout

the jurisdiction of the United States. The Selected Defendants have been operating for

                                  % of their revenue, around $               annually, dependent on

the Amazon’s United States site. It is unthinkable that the Selected Defendants would dissolve

and/or dissipate their assets, or that the Selected Defendants would be unable to pay damages to

Plaintiff, which is a smaller and lower-ranked competitor on Amazon. (See, e.g., Liu Decl. ¶ 23.)

       Accordingly, the Selected Defendants respectfully request that the Court vacate the TRO

and Order Restraining Assets and Merchant Storefronts immediately as applied to Selected

Defendants, and require Plaintiff to forfeit the patently inadequate bond to compensate the

Selected Defendants for the harm they have suffered while in place.




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                                             CONCLUSION

             For all the foregoing reasons, Selected Defendants Poptrend-Official, Decalare, Easy-Fit,

Hacosoon Flagship Store, Hacosoon Shop, Stegosaurus, and YEAHBEER store respectfully

request that the Court deny Plaintiff’s Motion for Preliminary Injunction in its entirety,

immediately dissolve the temporary restraining order, and require Plaintiff to forfeit the $5,000

bond posted.


                                                  Respectfully submitted,

                                                  DENTONS COHEN & GRIGSBY P.C.

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Dated: November 24, 2023
4722487 v1




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                           LISTING OF EXHIBITS

 Document       Description
Declaration 1   Declaration of Liu Ping (easy-fit)
Declaration 2   Declaration of Weiwei Wang (Poptrend-Official)
Declaration 3   Declaration of Qingbin Zhou (Stegosaurus)
Declaration 4   Declaration of Zeng Fengyong (Hacosoon Shop)
Declaration 5   Declaration of Zhang Hongzhu (Hacosoon Flagship Store)
Declaration 6   Declaration of Lei Zhong (Decalare)
Declaration 7   Declaration of Jin Benfang (YEAHBEER)
 Exhibit 1      Poptrend-Official Ratings
 Exhibit 2      Date Decalare Inflatable Alien Costume First Available (Adult)
 Exhibit 3      Date Decalare Inflatable Alien Costume First Available (Child)
 Exhibit 4      Poptrend-Official - Amazon Storefront Page
 Exhibit 5      Decalare - Amazon Storefront Page
 Exhibit 6      Easy-fit - Amazon Storefront Page
 Exhibit 7      Hacosoon Flagship Store - Amazon Storefront Page
 Exhibit 8      Hacosoon Store - Amazon Storefront Page
 Exhibit 9      Stegosaurus - Amazon Storefront Page
 Exhibit 10     YEAHBEER store - Amazon Storefront Page
 Exhibit 11     2022 Sales Data - Hacosoon Flagship Store
 Exhibit 12     2022 Sales Data - Decalare
 Exhibit 13     2022 Sales Data - Hacosoon Shop (Registered name Vkezi)
 Exhibit 14     2022 Sales Data - YEAHBEER store
 Exhibit 15     2022 Sales Data - Stegosaurus
 Exhibit 16     2022 Sales Data - Poptrend-Official
 Exhibit 17     2022 Sales Data - easy-fit - registered by Jianyuan
 Exhibit 18     Easy fit - Amazon Notice
 Exhibit 19     Poptrend-Official - Amazon Notice
 Exhibit 20     Stegosaurus - Amazon Notice
 Exhibit 21     Hacosoon Shop - Amazon Notice
 Exhibit 22     Decalare - Amazon Notice
 Exhibit 23     Hacosoon Flagship Store - Amazon Notice
 Exhibit 24     YEAHBEER Store - Amazon Notice
 Exhibit 25     Decalare - AFG Counsel Email Notice
 Exhibit 26     Hacosoon Flagship Store - AFG Counsel Email Notice
 Exhibit 27     Hacosoon Shop - AFG Counsel Email Notice
 Exhibit 28     Stegosaurus - AFG Counsel Email Notice
 Exhibit 29     Poptrend-Official - AFG Counsel Email Notice
 Exhibit 30     YEAHBEER Store - AFG Counsel Email Notice
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                        LISTING OF EXHIBITS
                             (continued)

Document      Description
Exhibit 31    Easy-fit - AFG Counsel Email Notice
Exhibit 32    Easy-fit -AFG Counsel Email Notice
Exhibit 33    2018-11-23 AFG Customer Review
Exhibit 34    2016-10-11 Customer Review
Exhibit 35    2016-11-01 Customer Review
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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing Opposition to Plaintiff’s

Motion for Preliminary Injunction was electronically filed on November 24, 2023, with the Clerk

of Courts using the CM/ECF system, which will send notification of such filing to all counsel of

record.




                                                        /s/ Audrey K. Kwak
